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____________________________________________________________________________
                                                 SO ORDERED,




                                                 Judge Jason D. Woodard
                                                 United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

In re:                                            )
                                                  )
         MARGARET B. HALL,                        )        Case No. 20-12866-JDW
                                                  )
              Debtor.                             )        Chapter 7


         COMMUNITY BANK OF                )
         MISSISSIPPI,                     )
                                          )
            Plaintiff                     )
                                          )
v.                                        )     A.P. No.:   20-01059-JDW
                                          )
      LOANCARE, LLC and MARGARET          )
      B. HALL,                            )
                                          )
            Defendants.                   )
                                          )
______________________________________________________________________________

                 ORDER SETTING STATUS HEARING (A.P. Dkt. # 34)

        The above-styled bankruptcy case of Margaret B. Hall (the “Debtor”) was commenced on
September 29, 2020 (Dkt. # 1). An adversary proceeding was initiated on October 5, 2020 (A.P.
Dkt. # 1). A Plaintiff’s Motion to Stay Adversary Proceeding was filed on April 9, 2021 (A.P.
Dkt. # 34). The Motion to Stay was granted on April 28, 2021 (A.P. Dkt. # 39). Accordingly, it
is hereby
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        ORDERED, ADJUDGED, and DECREED that a telephonic status hearing is set for July
28, 2021 at 10:30am. All attorneys, parties, and other interested parties should follow the dial-in
instructions below:

       1. Complete the dial-in instructions at least 5 minutes prior to the time of the hearing;
       2. Dial 877-336-1829, and, when prompted, enter number 5667710#;
       3. Once you are connected to the call, identify yourself by stating your name;
       4. Once your telephonic presence is acknowledged by the Courtroom Deputy, please
          mute your phone until further notice of the Court;
       5. Do not place the call on hold at any time during the call as this may lead to disturbing
          noises for the other call participants.
       Should you experience difficulties, please contact the Clerk’s Office at 662-369-2596.

                                        ## END OF ORDER ##
